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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

KAREN HANKINSON,

       Plaintiff,

v.                                                       Case No: 8:16-cv-550-MSS-JSS

NCO FINANCIAL SYSTEMS, INC.,

       Defendant.


               ORDER OF DISMISSAL WITHOUT PREJUDICE
       On February 28, 2017, Plaintiff filed a Notice of Pending Settlement informing the

Court that the Parties have reached a settlement in this lawsuit. (Dkt. 26) Therefore it is

hereby

       ORDERED that pursuant to Rule 3.08 (b) of the Local Rules of the United States

District Court for the Middle District of Florida, this case is DISMISSED WITHOUT

PREJUDICE, subject to the right of the Parties, within sixty (60) calendar days from the

date of this Order, to submit a final stipulation of dismissal, should they so choose, or for

any party to reopen the case, upon good cause shown. After the sixty (60)-day period,

the dismissal shall be with prejudice. Any pending motions are DENIED as moot. The

Clerk is directed to terminate any pending deadlines.

       DONE and ORDERED in Tampa, Florida, this 2nd day of March, 2017.




Copies furnished to:
Counsel of Record
Any pro se party
